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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT

 

DISTRICT oF NEW JERSEY
IN RE VALEANT~PHARMACEUTICALS Civil Acrion NO- 15-7658 (MAS) (LHG)
INTERNATIONAL, INC. SECURITIES
LITIGATION MEMORANDUM 0P1N10N

 

 

SHIPP, District Judge

This matter comes before the Court on six Motions to Dismiss. The first Motion Was filed
by Defendants Goldman Sachs & Co.; J.P. Morgan Securities LLC; Men~ill Lynch, Pierce, Felmer
& Smith, Inc.; CIBC World Markets Corp.; Citigroup Global Markets, Inc.; DBS Bank Ltd.; TD
Securities (USA) LLC; BMO Capital Markets C01'p.; SMBC Nikko Securities America, lnc.;
Deutsche Bank Securities lnc.; HSBC Securities (USA) Inc.; Mitsubishi UFJ Securities (USA),
Ine.; DNB Markets, Inc.; Barclays Capital Inc.; Morgan Stanley & Co. LLC; RBC Capital
Markets, LLC; and SunTrust Robinson Humphrey, Inc. (collectively, the “Bank Offering
Defendants”), seeking dismissal with prejudice of Counts Three through Eight of Plaintiffs the
City of Tucson, together With and on behalf of the Tucson Supplemental Retirement System, (the
“City of Tueson”) and Lead Plaintiff Teachers Insurance and Annuity Association of America-
College Retirernent Equities Fund’S (“TIAA-CREF”) (colleetively, “Plaintiffs”) Consolidated
Complaint (the “Complaint”) as to the Bank Offering Defendants. (ECF No. 164.) The second
Motion Was filed by Defendant PricewaterhouseCoopers LLP (“PWC”), seeking dismissal of
Count Seven of the Complaint as to PWC. (ECF No. 165.) The third Motion Was filed by

Defendant Tanya Carro (“Carro”), seeking dismissal of Count One as to Carro. (ECF No. 166.)

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The fourth Motion Was filed by Defendants Valeant Pharmaceuticals Intemational, Inc.
(“Valeant”), J. Michael Pearson (“Pearson”), Robert L. Rosiello (“Rosiello”), Ari S. Kellen (“Dr.
Kellen”), Ronald H. Farmer (“Farmer”), Colleen Goggins (“Goggins”), Robert A. lngram
(“Ingram”), Anders L¢'jnner (“Lonner”), Theo Melas-Kyriazi (“Melas-Kyriazi”), Robert N. Power
(“Power”), Norrna Provencio (“Provencio”), Katherine B. Stevenson (“Stevenson”), and Jeffrey
W. Ubben (“Ubben”) (collectively, the “Valeant Defendants"), seeking dismissal of all Counts as
to the Valeant Defendants. (ECF No. 167.) The fifth Motion was filed by Defendant Howard B.
Schiller (“Schiller”) (ECF No. 168), seeking dismissal of all Counts as to Schiller, and the sixth
Motion Was filed by Defendant Deborah Jorn (“Jorn”) (ECF No. 169), seeking dismissal of Count
One as to Jorn.l

Plaintiffs filed an omnibus opposition brief in response to all six Motions to Dismiss
(“Plaintiffs’ Opposition Brief”) (ECF No. 178), and all six movants replied (ECF Nos. 185, 186,
187,188,191,196).

Additionally, nonparty Securities Industry and Finaneial Markets Association (“SIFMA”)
filed an amicus curiae brief (ECF No. 193), and Plaintiffs filed opposition (ECF No. 208). Finally,
Plaintiffs submitted supplemental authority on the issue of auditor liability under Section ll of the

Securities Act of 1933 (the “Securities Act”) (ECF No. 211). and PWC responded (ECF No. 212).

 

‘ Given the substantial number of parties, the Court utilizes the categories of Defendauts as set
forth in the Complaint: (l) the “Director Defendants” are comprised of Ingram, Farmer, Goggins,
Lonner, Melas-Kyriazi, Power, Provencio, Stevenson, and Ubben; (2) the “Individual Defendants”
are comprised of Pearson, Schiller, Rosiello, Jorn, Kellen, Carro, and the Director Defendants;
(3) the “Exchange Act Defendants” are comprised of Valeant and the Individual Defendants;
(4) the “lndividual Securities Act Defendants” are comprised of Pearson, Schiller, Falmer,
Goggins, Ingram, Lonner, Melas-Kyriazi, Power, Provencio, Stevenson, and Ubben; and (5) the
“Stock Underwriter Defendants” are comprised of Deutsche Bank Securities, Inc., HSBC
Securities (USA) lnc., Mistubishi UFJ Securities (USA), lnc., DNB l\/larkets, lnc., Barclays
Capital, Inc., Morgan Stanley & Co. LLC, RBC Capital l\/Iarkets, and SunTrust Robinson
Humphrey, Inc. Additionally, the Court refers to all Defendants, collectively, as “Defendants.”
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The Court has carefully considered the parties’ submissions and heard oral argument on
April 10, 2017. For the reasons stated below, the Exchange Act Defendants’ Motions to Dismiss
are DENIED with regard to Count One; Valeant, Pearson, Schiller, and Rosiello’s Motions to
Dismiss are DENIED with regard to Count Two; Valeant, Pearson, Schiller, and the Bank Offering
Defendants’ Motions to Dismiss are GRANTED, without prejudice, with regard to Counts Three,
Four, Five, and Six; Valeant, the Individual Securities Act Defendants, PWC, and the Stock
Underwriter Defendants’ Motions are DENIED with regard to Count Seven; Valeant, Pearson,
Schiller, and the Stock Underwriter Defendants’ Motions are DENIED With regard to Count Eight',
and Valeant, Pearson, and Schiller’s Motions Dismiss are DENIED with regard to Count Nine.
I. Background2

A. Overview of the Litigation

This securities class action is brought on behalf of purchasers of Valeant equity securities
and senior notes between January 4, 2013 and March 15, 2016 (the “Class” and the “Class Period,”
respectively), alleging nine counts pursuant to the Securities Exchange Act of 1934 (the “Exchange
Act”), Securities and Exchange Commission (“SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, and the
Securities Act. (Compl. 11 1, ECF No. 80.) The Complaint alleges that Valeant engaged in
deceptive practices, Which Defendants concealed through materially false and misleading
statements and omissions (Id. 1111 7-17.) Once Valeant’s deceptive practices were disclosed to the
public, Valeant’s stock price fell dramatically (Id. 1111 18-26.) Plaintiffs now seek compensatory

damages, rescission, and litigation costs and attorneys’ fees against Defendants. (Id. at 279-80.)

 

2 ln light of the applicable legal standard, the Court sets forth the allegations of the Complaint as
true for the purposes of evaluating the pending Motions to Dismiss. See Fowler v. UPMC
Shadyside, 578 F.3d 203, 210-ll (3d Cir. 2009).

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B. Valeant’s Deceptive Practices

Pearson became Valeant’s ChiefExecutive Officer (“CEO”) in February 2008.3 (Id. 11 55.)
Pearson’s strategy as CEO was to grow Valeant through acquisitions as opposed to research and
development (Id. 11 56.) Accordingly, Pearson’s strategy resembled that of a hedge fund manager
and Pearson’s compensation, along with the compensation of other senior executives, consisted of
substantial awards tied to rises in Valeant’s stock price. (Id. 1111 36-40, 56, 458-69.) In addition to
Valeant’s acquisition strategy, other aspects of Valeant’s overall business strategy included “using
deceptive tactics to exploit gaps [the Exchange Act] Def`endants had identified in the healthcare
system,” and targeting pharmaceutical markets where maj or pharmaceuticals were less prevalent,
such as the dermatological treatment market. (Id. 11 57.)

One deceptive practice that Valeant implemented was price gouging. (Ia’. 11 58.) Valeant
strategically acquired products that had very little competition from existing competitors, such as
generics, so that it could subsequently raise the prices of the newly-acquired products to increase
short term revenues (Id. 1111 58-65, 67, 71-81,) Accordingly` in 2015, Valeant raised the prices of
its brand-name drugs by 66% on average, which was “approximately five times more than its
closest industry peers.” (Id. 11 66.) To conceal its price gougng practices, Valeant increased its
participation in patient assistance programs (“PAPS”), which essentially entailed Valeant waiving
or substantially reducing patient co-pays for complaining patients Without full disclosure to payors
who were paying the raised prices. (Id. 1111 68-69, 71-81.) ln light of federal anti-kickback laws,
Valeant targeted patients with private insurance with regard to its PAP tactics. (Id. 11 70.)

To facilitate its price gouging strategy, Valeant “created a secret network of specialty

pharmacies” that would raise the prices of Valeant’s products while avoiding scrutiny (Id. 11 82.)

 

3 The positions of CEO and Chairman of the Board were combined into a single CEO position
until the roles were separated on or around February 28, 2016. (Compl. 11 291 .)
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Specifically, Valeant’s secret network reduced pushback or requests for substantiation, with
respect to competing and cheaper products, by: (1) physicians (by “simplifying administrative
burdens associated with rejections or illegally altering prescriptions”); (2) patients (“by filling
prescriptions immediately regardless of insurance approval and by offering assistance to reduce or
eliminate copays”); (3) independent pharmacies (“by taking products out of that chain”); and
(4) pharmacy benefit managers (“PBMs”) and payors (“by concealing the close relationship
between Valeant and its captive pharmacies”). (Id. 11 83.)

On January 2, 2013, as part of its captive pharmacy network, Valeant created Philidor, a
seemingly independent pharmacy operated by Andrew Davenport that was actually Controlled by
'\/aleant.4 (Id. 11 88.) Philidor’s only client was Valeant and Valeant employees formed and staffed
Philidor under the guise of fake aliases. (Id.) Philidor’s owners included Matthew Davenport,
Andrew Davenport, and Greg Blaszczynzki, who all worked at a marketing firm that consulted for
Valeant and shared Philidor’s Pennsylvania address. (Id. 11 1073.)

Soon after its formation, on January ll, 2013, Philidor entered into a Master Service and
Pharmacy Dispensing Agreement with Valeant’s Medicis division (the “MSPD Agreement”). (Id.
11 89.) The MSPD Agreement: (1) permitted Valeant to inspect and audit Philidor to verify
compliance with the agreement and to otherwise evaluate Philidor’s operation; (2) set forth the
“Medicis Alternative Fulfillment Program” (“AF Program”), which required Philidor to “work
with the retail pharmacy to transition the prescription over to [Philidor]” and if Philidor could not
get the retail pharmacy to agree, then Philidor was to “call the physician’s office for a new
prescription as needed” and “contact the Consumer in an attempt to resolve any issues regarding

the retail pharmacy withholding medication fulfillment”; (3) required Philidor to “proactively

 

4 ln addition to Philidor, the captive pharmacy network consisted of Cambria Pharmacy, West
Wilshire Pharmacy, R&O, SafeRx Pharmacy, Orbit Pharmacy, D&A Pharmacy, Prescriptions
Shoppe, Heritage Compounding Pharmacy, and Parkwest Pharrnacy. (Ia'. 11 104.)

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follow-up with customer[s] for covered Product refills”; and (4) “required Philidor to exclude any
transaction identifying the payor ‘as any state or federally funded program.”’ (Id. 11 90 (alterations
in original).)

On December 15, 2014, Valeant paid $100 million to Philidor’s owners for the option to
acquire Philidor for $0 for ten years, plus “various milestone payments based on Philidor’s sales.”
(Id. 11 99.) The option was obtained by KGA, which was Valeant’s subsidiary5 (Id.) Pursuant to
the purchase option agreement, KGA obtained the right to create a joint steering committee to
“assess and discuss” legal compliance and Philidor’s “intemal policies, manuals and processes.”
(Ia’. 11 100.) Valeant was given the right, through KGA, to “make the final determination” regarding
Philidor’s strategic planning, legal compliance, contractual obligations, and internal policies and
manuals. (Id.) In addition to the purchase option agreement, Valeant and Philidor executed a new
distribution and services agreement, which gave Valeant the right to inspect Philidor’s compliance,
policies, and procedures, and to conduct site visits. (Id. 11 101.)

After being denied a permit to operate in California due to the submission of false
statements on its application, Philidor implemented deceptive tactics to operate in California
Without a perrnit. (Id. 1111 105-07.) Isolani, LLC (“lsolani”)6 (a Delaware limited liability company
whose sole member was Philidor’s Senior Director of Call C enter Operations), purchased 10% of
R&O Pharmacy (“R&O”), a pharmacy With a California license, for $350,000, and R&O agreed
to sell the remaining 90% when Isolani obtained a California permit. (Ia'. 1111 54, 107.) The owner
of R&O, however, discovered fraudulent practices and, therefore, withheld from Isolani millions

of dollars of prescription reimbursements for Valeant drugs (Id. 11 109.) In response, Valeant’s

 

5 “KGA” stands for Kings Gambit Accepted, which is an opening move in chess. “[T]he numerous
related entities which formed Valeant’s secret network of specialty pharmacies were named for
chess strategies.” (Compl. 11 54.)

6 lsolani is a chess term that refers to an isolated queen’s pawn. (Id.)
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General Counsel, Robert Chai-Onn, demanded “immediate payment” from R&O to avoid “further
damage to Valeant and other parties.” (Id.) R&O subsequently filed suit in October 2015, stating
that R&O had no relationship with Valeant and alleging that either both R&O and Valeant were
victims of fraud or Valeant was conspiring to defraud R&O. (Id. 1111 109, 120-28.) Philidor
similarly took control over numerous other independent pharmacies through subsidiaries that
failed to disclose their connections to Philidor and Valeant. (Id. 1111 110-14.)

To further Valeant’s deceptive business strategies, Philidor engaged in numerous deceptive
practices that increased reimbursement for sales of Valeant’s drugs. (Id. 11 115.) A department at
Philidor would ship drugs to patients before health insurance coverage was in place, while a
separate department engaged in seven categories of fraudulent practices in seeking insurance
coverage for the Valeant drugs: (l) altering National Provider Identifier (“NPI”) Numbers (by
using the NPI Number of a different pharmacy, Philidor concealed its involvement from insurers
reimbursing for Valeant products); (2) operating a pharmacy without a license (by filling
prescriptions and obtaining reimbursements in states where Philidor Was not licensed)', (3) altering
prescriptions (by including a DAW"' indication, without consent of the prescribing physician or
patient, thereby preventing substitution with a generic drug); (4) misrepresenting drugs prices (by
raising prices “to pinpoint a plan’s maximum allowable price”); (5) misrepresenting drug
quantities (by resubmitting a claim with a lower quantity of drugs to secure approval if the claim
for reimbursement was originally rejected by the insurer); (6) waiving copays; and

(7) automatically refilling prescriptions (Id_ 1111 1 15-16.)

 

7 “Dispensed as Written.” “[A] prescribing doctor . . . may state that the prescription be ‘dispensed
as Written’ (‘DAW’) prohibiting generic substitutionJJ (Compl.11 ll6.)

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C. Valeant’s Deceptive Practices are Revealed to the Public

Beginning in September 2015, Valeant’s “true business, operations, and prospects” began
to emerge. (Ia’. 11 231.) First, Valeant’s price gouging practices were revealed (Id. 1111 232-38.)
Bloomberg reported that members of Congress were requesting an investigation into price gouging
by Valeant, the Washingron Post reported that United States Senator Claire McCaskill had sent a
list of questions to Valeant regarding the price increases of two heart drugs, and various media
outlets reported that Valeant was turning “old neglected drugs” into “high-price specialty drugs.”
(Id. 1111 232, 234.) On October 14, 2015, Valeant issued a press release revealing it had received
federal subpoenas from two districts (Id. 11 237.)

Next, Valeant’ s use of a secret network of pharmacies through its relationship with Philidor
was revealed (Id. 1111 239-54.) The connection between Valeant and Philidor was confirmed in an
earnings call hosted by Valeant on October 19, 2015. (Id_ 1111 239-40.) Pearson also disclosed that
price increases accounted for approximately 60% of Valeant`S growth in 2014 and 2015, and that
eighty-five of Valeant’S 156 pharmaceutical products in the United States had an average gross
price increase of 36%. (Id. 11 242.) “When asked what percentage of U.S. branded prescription
business flowed through” Philidor, Pearson stated that it varied among products, but for the “U.S.
Portfolio,” it was probably ten or twenty percent. (Ia'. 11 244.)

On October 21, 2015, Citron Research8 published a report alleging that Valeant was using
a network of phantom captive pharmacies created by Valeant and Philidor to “prop up sales” and
prevent access to generics. (Ia'. 11 246.) That same day, Philidor issued a release describing its
“contractual relationship with ‘affiliated pharmacies.”’ (Ia’. 11 248.) On October 22, 2015, BMO

Capital Markets Corp. stated that it “[found] Valeant’s arrangements with specialty pharmacy

 

8 The Complaint does not provide any additional background information regarding Citron
Research.
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Philidor as not just aggressive, but questionable.” (Ia’. 11 249.) The Wall Srreet Journal reported
that former Philidor employees had revealed that Valeant employees worked directly at Philidor
and were using fictitious names to conceal their identities. (Id. 11 250.) On October 26, 2015,
Valeant filed its lO-Q Form for the third quarter of 2015 (“3Q15 10-Q”), including disclosures
related to Philidor, and revealed that Valeant had established a board committee that would
investigate the relationship between Valeant and Philidor. (Id. 11 252.) Valeant also hosted a
conference call where Rosiello, Valeant’s Chief Financial Officer (“CFO”) since July 2015 and
Executive Vice President, disclosed Philidor’s status as a Variable Interest Entity (“VIE”)9 and
Carro, Valeant’s Corporate Controller, admitted that Valeant reviewed Philidor’s financials
regularly (Id. 1111 38, 254.)

A number of disclosures then led to the announcement that Philidor would be permanently
closing. (Id. 1111 255-75.) On October 27, 2015, Bill Ackman (“Ackman”), current board member
of Valeant, sent Pearson and Schiller, Valeant’s then-CFO, an e-mail message and stated that “the
company is running out of time to save itself ’ and advised that they hold a conference call to

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answer questions “honestly, no matter how embarrassing” or “what the legal implications are.”
(Id. 1111 255-57.) Ackman further advised that “the truth will come out eventually” and to “do the
right thing.” (Id. 11 257.) On October 28, 2015, Bloomberg reported that an internal Philidor
training manual showed that Philidor “instructed employees to submit claims under different
pharmacy identification numbers if an insurer rejected Philidor’s claim.” (Id. 11 258.) On October
29, 2015, Valeant announced “it would cut all ties with Philidor.” (Ia'. 11 259.)

On November 4, 2015, it was announced that the United States Senate was investigating

Valeant’s price increases for three drugs. (Ia'. 11 263.) Valeant hosted a conference call on

 

9 A Variable lnterest Entity is defined in generally accepted accounting principles (“GAAP” “as
a legal entity that is subject to consolidation.” (Compl.11 151(b).)
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November 10, 2015, where Pearson: (1) stated that Philidor committed to ceasing operations by
January 30, 2016; (2) disclosed that the closing of Philidor and the government inquiries were
having a negative financial impact on Valeant', (3) suggested 2015 fourth quarter and fiill year
guidance with respect to revenues and earnings per share (“EPS”) would have to be withdrawn;
and (4) stated that declines in the dermatology division would not be “hugely material” and that
he was confident Valeant would get a “Plan B” in place. (Id. 1111 267-70.)

Valeant began to disclose additional information concerning the financial impact of
Philidor’s closing on December 15, 2015. (Ia’. 1111 216-86.) Valeant announced its deal with
Walgreens and indicated that it Would reduce the price of prescription-based dermatological and
ophthalmological products by 10%. (Ia’. 11 276.) Valeant then formally withdrew the guidance
issued on October 19, 2015, and issued new fourth quarter revenue guidance, cash EPS guidance,
2015 full year guidance, and 2016 earnings before interest, tax, depreciation and amortization
(“EBITDA”) guidance, which were all substantially reduced (Id. 11 27 7.) On December 28, 2015,
Valeant announced that Pearson had left Valeant on a medical leave of absence (Id. 11 280.) “On
January 22, 2016, but undisclosed to investors, Valeant entered into a termination agreement with
Philidor that was effective as of November 1, 2015.” (Id. 11 282.)

Additionally, Valeant’s fraudulent accounting began to come to light. (Id. 1111 287-301.)
On February 22, 2016, Valeant issued a release admitting that the committee reviewing Philidor
had “identified certain sales to Philidor during 2014 . . . that should have been recognized when
product was dispensed to patients rather than on delivery to Philidor,” indicating that this amounted
to approximately 558 million of net revenues and that Valeant would delay filing its 2015 Forrn

lO-K pending completion of the review. (Id. 11 289.) On February 28, 2016, Valeant announced

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that Pearson was returning but only in the capacity of CEO10 and withdrew its prior financial
guidance (Id. 11 291 .) Valeant announced the next day that it was under investigation by the SEC.
(Ia'. 11 292.)

On March 15, 2016, Valeant reduced its financial guidance for 2016, lowering its revenue
guidance, cash EPS guidance, and EBITDA guidance, and blamed the reductions on “reduced
revenue assumptions for certain businesses, new managed care contracts, and increased investment
in key functions, such as financial reporting, public and government relations and compliance, as
well as the impact of the weak first quarter of 2016.” (Id. 11 294.) Valeant also hosted a conference
call where Pearson noted that guidance was being lowered, in part, “due to the higher-than-
expected inventory reductions [from having to transition] from Philidor to Walgreens and the
cancellation of almost all price increases.” (Id. 11 295-96.)

As information regarding the Exchange Defendants’ misrepresentations and omissions
continued to become public, Valeant’s stock prices correspondingly fell. (Id_ 1111 473-528.)

D. The Exchange Act Defendants’ False and Misleading Statements During the
Class Period

On January 4, 2013, in a conference call with investors and analysts regarding Valeant’s
2013 financial guidance, Pearson stated, in part, the following:ll

2012 was another very strong year for Valeant. From a top line
perspective we added over $1 billion in revenue in 2012 . . . . On the
bottom line, we delivered cash EPS growth of greater than 50% as
compared to 2011, demonstrating once again the sustainabilirj: of
our business model.

 

m Valeant decided to separate the role of CEO and Chairrnan of the Board, and lngram became
the Chairman. (Compl. 11 291.)

11 The Court sets forth the holding and italicization as utilized by Plaintiffs in their Complaint,
indicating the particular alleged misleading or false portion of the quoted statements. (See id.
11 133 n.20.)

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Our businesses continued to deliver strong organic growth, and we
expect full year 2012 to have same-store sales, organic growth of
approximately 8%, and pro forma organic growth of approximately
10%.

[When asked about pricing for a dermatological product called
Solodyn in the Medicis transaction, Pearson stated:]

Sure. In terms of Solodyn, we ’re not assuming we ’re making any
kind of major price increases in terms of the end consumer.
Through the AF [alternatlve fulfillment] 12 programs, it will allow
us our sort of average price internally to go up, because of the way
that system works.

[When discussing the expansion of Valeant’s AF initiative, Pearson
stated:]

Yes, the more we understand about it the more excited we get about
it, quite frankly because it’s not just a singular sort of initiative
that there ’s a whole evolution being planned in terms of the Stage
I, Stage II, Stage III. And there ’s some exciting opportunities
there that we ’re not going to give specifics of.` And also as we had
hoped, we think lt will apply to more than just Solodyn. Zlana is
actually also belng-already Medicls has Ziana being used in the
AF program, and we see application for a number of our

dermatology products and potentially neurology products in the
US.

[When asked about the percentage of Solodyn revenue that would
go through the AF initiative, Pearson stated:]

Well the last question, it’s much_it will be much closer to 50% than
10%, that’s for sure. And yes, what weWthe AF, ifit all works out,
will both help eliminate or get rid of non~revenue producing or
non-profitable scripts, but hopefully can be used to start
generating truly profitable scripts through a different channel
That’s the lntent, and we ’re seeing evidence that that will work.

(ld. 11 133.)
On February 28, 2013, Valeant hosted a nationwide conference call to report Valeant’s
2012 financial results, where Pearson answered further questions regarding the AF Program. (Id.

11 134.) On May 3, 2013, Valeant filed its quarterly report on Form lO-Q for the period ending on

 

12 (Alteration in original.)
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March 31, 2013 (“1Q13 lO-Q”). (ld. 11 135.) Pearson and Schiller signed the lQ13 10-Q, which

stated:

Our management, with the participation of our CEO and Chief

Financial Officer (“CFO”), has evaluated the e_]j“ectiveness of our

disclosure controls and procedures as ofMarch 31, 2013. Based

on this evaluation, our CEO and CFO concluded that our

disclosure controls and procedures were effective as of March 31,

2013.
(“lnternal Controls Statement”) (ld.) Additionally, among other things, the lQ13 10-Q Stated that
“pricing and sales volume of certain of our products . . . are distributed by third parties, over
which we have no or limited control.” (ld. 11 137.) On June l l, 2013, Schiller gave a presentation
at the Goldman Sachs Healthcare Conference, where he made additional representations regarding
the success of the AF Program. (Id. 11 138.)

On July 29, 2013, Valeant filed a Form S-K with the SEC With a memorandum describing
Valeant’s “Organizational Design and Philosophy” as: “Healthcare companies are held by society
to the highest possible ethical standard - and they should be. Adhering to this extremely high
ethical bar supersedes any financial or other objective." (Id. 11 140.) Additionally, the
memorandum stated that Valeant focuses on “[e]nsuring adequate controls to protect our
shareholders and to ensure we are in compliance with all regulatory requirements.” (Id.)

ln Valeant’s August 7, 2013, quarterly report on Form 10-Q (“2Q13 10-Q”), Valeant
represented that “pricing and sales volume of certain of our products . . . are distributed by third
parties, over which we have no or limited control,” while simultaneously concealing its control
and influence over Philidor. (ld. 11 143.) Similarly, in a release reporting Valeant’s 2013 third
quarter financials, Valeant Stated that the “growth in the Developed Markets was driven by
continued improvement in many of our Dermatology prescription brands, our aesthetics and oral

health portfolios, our orphan drug products and CeraVe.” (ld. 11 144.) The following day, on

Forrn 10-Q for Valeant’s third quarter in 2013 (“3Q13 10-Q”), Valeant stated that “pricing and
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sales volume of certain of our products . . . are distributed by third parties, over which we have
no or limited control.” (Id. 11 145.) Pearson, Schiller, and Valeant continued to make similar
statements concerning the legitimacy of Valeant’s growth, limited control over pricing and sales,
and effective internal controls throughout the Class Period, at times responding directly to public
Suspicions of their deceptive practices (ld. 1111 147~202.)

By October 2015, Valeant had received subpoenas from the Department of Justice for
documents regarding its patient assistance and distribution practices and investigative journalists
had uncovered Valeant’s relationship with Philidor. (Id. 1111 204-05.) On October 19, 2015,
Valeant issued a press release and hosted an earnings conference call and stated that Philidor:
“[d]oes not restrict prescriptions it fills to any particular manufacturers (including Valeany”
and “[d]ispenses generic products as specified in [a] patient’s prescription or as requested by
[the]patient.” (ld. 11 206.) Additionally, Pearson stated that Valeant’s relationship with Philidor
had not been disclosed for “competitive reasons” and claimed that Valeant’s use of “specialty
pharmacies improve[d] patients ’ access to medicines at an affordable price, and help[ed] ensure
physicians [were] able to prescribe the medications they believe[d] most appropriate for their
patients.” (Id. 11 207.) Additionally, on October 26, 2015, Valeant reported that its entire board
of directors reviewed Valeant’s accounting for Philidor and had “confirmed the appropriateness
of the Company’s related revenue recognition and accounting treatment,” and subsequently
continued to assure investors that the revelations concerning Philidor would not affect Valeant’s

business. (ld. 1111 215-30.)

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E. Valeant’s Financial Statements were Materially Misstated13

During the Class Period, Valeant’s financial statements were materially misstated because:
(1) Valeant improperly recognized Philidor revenue, in violation of GAAP; (2) Valeant concealed
Philidor as a VIE, in violation of GAAP', (3) Valeant falsely certified that its internal controls over
financial reporting (“lCFR”) and its disclosure controls were effective, in violation of Sarbanes
Oxley and SEC rules; and (4) Valeant concealed information regarding the impact of Philidor and
price increases on its reported revenue and earnings in violation of SEC disclosure rulesl (ld.
11 314.)

Valeant improperly recognized Philidor revenue by recognizing sales to Philidor (i.e.,
when Valeant delivered products to Philidor) and recorded revenue again for delivering those
products to patients (ld. 1111 315-22.) Additionally, Valeant failed to make the proper disclosures
in violation of GAAP even though it considered Philidor to be a VIE. (ld. 1111 323-30.) Next, the
Exchange Act Defendants misrepresented that Valeant’s internal controls were operating
effectively under Sarbanes Oxley, When in fact material weakness existed during the Class Period.
(ld. 1111 331-45.) Finally, the Exchange Act Defendants concealed Valeant’s relationship With
Philidor instead of disclosing the relationship in the Management’s Discussion and Analysis

section of each 10-Q and lO-K Form during the Class Period. (ld. 1111 346-75.)

 

13 The Court recognizes that Plaintiffs’ allegations concerning materiality inherently consist of
both factual allegations and legal conclusions For the purposes of coherently summarizing
Plaintiffs’ allegations the Court sets forth the following allegations as true only to the extent that
they constitute factual allegations The Court does not accept as true any conclusions of law
represented in these allegations The Court separately addresses Plaintiffs’ proposed legal
conclusions in the Discussion section below. \

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F. Scienter Allegations14

Each of the Exchange Act Defendants Was personally involved in and aware of the scheme
to defraud investors by implementing and concealing Valeant’s deceptive practices (lcl. 11 386.)
Speciflcally, the Individual Defendants had direct oversight of the operations and with regard to
pricing and other deceptive practices (ld. 1111 387-400.) Additionally, the Individual Defendants
Were aware of Valeant’s use of Philidor and the captive network of pharmacies and the fact that
these relationships were being concealed (ld. 11 401.) The Individual Defendants were aware
because they were involved in signing the relevant agreements touting the deceptive programs as
legitimate, conducting due diligence related to acquiring the option to purchase Philidor, and
otherwise monitoring Philidor. (ld. 1111 401-12.)

As further indication that the Individual Defendants possessed the requisite scienter,
Valeant refused to pursue remedies against wrongdoers for committing the deceptive practices,
Pearson and Schiller made key admissions and provided misleading testimony in Congressional
hearings and numerous executives and directors departed Valeant just a few months before the
Exchange Act Defendants’ scheme became public. (ld. 1111 413-47.) The driving motive for
facilitating the scheme, however, Was Valeant’s unusual compensation structure, which provided
“incredibly rich compensation packages based on achieving increasingly challenging performance
goals, backed by the threat of termination.” (Id. 11 458.) There were significant “rewards tied to
driving Valeant’s stock price as high as possible until 2017,” which “afforded Pearson the

opportunity to become a billionaire and obtain wealth far beyond even a typical highly paid CEO.”

 

14 The Court recognizes that Plaintiffs’ allegations concerning Scienter inherently consist of both
factual allegations and legal conclusions For the purposes of coherently summarizing Plaintiffs’
allegations the Court sets forth the following allegations as true only to the extent that they
constitute factual allegations The Court does not accept as true any conclusions of law represented
in these allegations The Court separately addresses Plaintiffs7 proposed legal conclusions in the
Discussion section below.

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(Id. 1111 462-64.) Similarly, Schiller’s compensation Was also tied to increasing share prices (Id.
11 467.) Moreover, the higher Valeant stock prices enabled the Individual Defendants to cheaply
execute more acquisitions by compensating sellers with Valeant stock. (ld. 1111 470-72.)

G. Claims for Relief

Plaintiffs filed the instant nine-count action Count One is brought against the Exchange
Act Defendants under Section 10(b) of the Exchange Act and SEC Rule 10b-5 arising from the
Exchange Act Defendants’ dissemination or approval of false statements related to Valeant’s
deceptive practices (ld. 1111 538-43.) Plaintiffs similarly bring Count Two, under Section 20(a) of
the Exchange Act, against Valeant, Pearson, Schiller, and Rosiello in their capacities as senior
corporate ofhcers and directors for their control over the dissemination of materially false and
misleading statements and omissions (ld. 1111 544-50.)

Next, Lead PlaintifleAA-CREF brings Counts Three, Four, Five, and Six, under Section
12(a)(2) of the Securities Act, against Valeant, Pearson. Schiller, and the Bank Offering
Defendants for non-fraud based, strict liability claims for material misstatements and omissions in
the offering materials tied to four different debt offerings by Valeant. (ld. 1111 551-668.) The City
of Tucson brings Count Seven, under Section 11 of the Securities Act, against Valeant, the
Individual Securities Act Defendants PwC, and the Stock Underwriter Defendants, and Count
Eight, under Section 12(a)(2), against Valeant, Pearson, Schiller, and the Stocl< Underwriter
Defendants (ld. 1111 669-722.) Counts Seven and Eight are non-fraud based claims for strict
liability arising from material misstatements and omissions in the offering materials in connection
with Valeant’s March 2015 Stock Offering. (ld.) Finally_ Plaintiffs bring Count Nine, under
Section 15 of the Securities Act, against Valeant, Pearson, and Schiller on non-fraud based claims
for strict liability for their control over material misstatements and omissions relating to Valeant’s

deceptive practices (Id. 1111 723-28.)

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II. Legal Standard

When analyzing a Rule l2(b)(6) motion, district courts conduct a three-part analysis First,
the court must “tak[e] note of the elements a plaintiff must plead to state a claim.” Ashcrofl v.
lqbal, 556 U.S. 662, 675 (2009). Second, the court must accept as true all of a plaintiffs well-
pleaded factual allegations and construe the complaint in the light most favorable to the plaintiff
Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). The court, however, must disregard
any conclusory allegations proffered in the complaint Id. at 210-11. Finally, once the well-
pleaded facts have been identified and the conclusory allegations ignored, the court must determine
whether the “facts alleged in the complaint are sufficient to show that the plaintiff has a ‘plausible
claim for relief.”’ Id. at 211 (quoting lqbal, 556 U.S. at 679).

Where a plaintiff pleads fraud, however, the plaintiff “must meet a heightened pleading
standard under Federal Rule of Civil Procedure 9(b).” Zuniga v. Am. Home Mortg., No 14-29'73,
2016 WL 6647932, at *2 (D.N.J. Nov. 8, 2016). “In alleging fraud . . . , a party must state with
particularity the circumstances constituting fraud . . . .” Fed. R. Civ. P. 9(b). “A plaintiff alleging
fraud must therefore support its allegations ‘with all of the essential factual background that would
accompany the first paragraph of any newspaper story_that is, the who, what, when, where and
how of the events at issue.”’ U.S. ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries, LLC, 812
F.3d 294, 307 (3d Cir. 2016) (quoting ln re Rockej%ller Ctr. Props., lnc. Sec. Litig., 311 F.3d 198,
217 (3d Cir. 2002)). Additionally, the Private Securities Litigation Reform Act (“PSLRA”)
requires that a securities fraud complaint “specify each statement alleged to have been misleading,
the reason or reasons why the statement is misleading, and, if an allegation regarding the statement
or omission is made on information and belief, the complaint shall state with particularity all facts

on which that belief is formed.” OFl Asset Mgrnt. v. Cooper T irc & Rubber, 834 F.3d 481, 490

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(3d Cir. 2016) (quoting ln re Suprema Specialties, Inc. Secs. Litig., 438 F.3d 256, 276 (3d Cir.
2006)).
III. Discussion

A. Count 0ne: Section 10(b) of the Exchange Act and SEC Rule 10b-5 (against
the Exchange Act Defendants)

To survive a motion to dismiss, a plaintiff bringing an action under Section 10(b) of the
Exchange Act, 15 U.S.C. § 78j(b), and SEC Rule 10b-5 must plead: “(l) a material
misrepresentation or omission by the defendant; (2) scienter; (3) a connection between the
misrepresentation or omission and the purchase or sale of a Security; (4) reliance upon the
misrepresentation or omission; (5) economic loss; and (6) loss causation.” Matrixx lnitiatives, Inc.
v. Siracusano, 563 U.S. 27, 37-38 (2011) (quoting Stoneridge lnvest. Partners, LLC v. Sci.-Atlanta,
lnc., 552 U.S. 148, 157 (2008)). Here, Defendants argue that Plaintiffs have failed to plead a
material misrepresentation or omission, scienter, and loss causation

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A complaint must “‘state with particularity facts giving rise to a strong inference that the
defendant acted with the required state of mind,’ , . , specifically ‘scienter.”’ Cooper Tire, 834
F.3d at 490 (quoting 15 U.S.C. § 78u-4(b)(2)(A)). “‘[O]missions and ambiguities count against
inferring scienter’ under the PSLRA’s particularity requirements.” Inst’l Inv'rs Grp. v. Avaya,
Inc., 564 F.3d 242, 263 (3d Cir. 2009) (quoting Tellabs, lnc. v. Makor Issues & Rights, Ltd., 551
U.S. 308, 326 (2007)). “[T]o determine Whether a complaint’s scienter allegations can survive
threshold inspection for sufficiency, a court . . . must engage in a comparative evaluation; it must
consider, not only inferences urged by the plaintiff, . . . but also competing inferences rationally
drawn from the facts alleged.” Tellabs, lnc., 551 `U.S. at 314. “[A]n inference of scienter must be
more than merely plausible or reasonable_it must be cogent and at least as compelling as any

opposing inference of nonfraudulent intent.” ld. Additionally, the Court must consider “whether

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all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not whether
any individual allegation, scrutinized in isolation, meets that standard.” ld. at 322-23.

For the purposes of evaluating “plausible, nonculpable explanations for [the Exchange Act
Defendants’] conduct,” id. at 324, the Court considers the Exchange Act Defendants’ argument
that “the more compelling inference from the circumstances alleged in the [C]omplaint is that
congressional inquiries Philidor’s collapse and a short-seller_not securities fraud_drove down
Valeant’s stock price.” (Valeant Defs’ Moving Br. 31, ECF No. 167-1; Carro’s Moving Br. 8-15,
ECF No. 166-1; Schiller’s Moving Br. 20-29, ECF No. 168-1; Jorn’s Moving Br. 4-8, ECF No.
169-1.) Here, however, the Court finds that “[w]hen all the allegations are accepted as true and
taken collectively, . . . a reasonable person [Would] deem the inference of scienter at least as strong
as” the Exchange Act Defendants’ alternative theory. Tellabs, lnc., 551 U.S. at 326.

In their opposition, Plaintiffs argue that the Complaint adequately pleads scienter by
alleging: (l) the Exchange Act Defendants’ direct roles in deceptive practices; (2) the Exchange
Act Defendants’ senior roles, specificity of their statements and by way of the Core Operations
Doctn'ne;15 (3) the Exchange Act Defendants’ pattern of denials and subsequent admissions;
(4) the Exchange Act Defendants’ failure to pursue remedies; (5)- Valeant’s restatement and
material weaknesses in internal controls; (6) volume of executive and director departures', and the
Individual Defendants’ unique compensation and Valeant’s dependence on acquisitions (Pls’
Opp’n Br. 79-110, ECF No. 178.) The Exchange Act Defendants primarily respond by dividing

Plaintiffs’ allegations into discrete parts and arguing that each part fails to give rise to sufficient

 

15 One argument that Plaintiffs assert is that because “the [Valeant’s] deceptive practices . . . were
the most profitable components of Valeant’s operations . . . , the [C]ore [O]perations [D]octrine
supports an inference of scienter.” (Pls.’ Opp’n Br. 90.) ln reply, the Valeant Defendants argue
that the Core Operations Doctrine is no longer a valid argument in light of the PSLRA. (Valeant
Defs.’ Reply Br. 20-21.) Here, the Court reaches its decision based upon the totality of Plaintiffs’
allegations and without having to determine the viability of the Core Operations Doctrine.

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scienter. (Valeant Defs.’ Moving Br. 31-47; Valeant Defs.’ Reply Br. 11-23; Carro’s Moving Br.
8-15; Schiller’s Moving Br. 20-29; Jorn’s Moving Br. 4-8.)

Although the Exchange Act Defendants characterize their compilation of discrete
arguments as holistically considering the entirety of the Complaint, the Court disagrees with the
exception of two arguments The Exchange Act Defendants’ lone arguments in support of their
alternative explanation, in light of the totality of Plaintiffs’ allegations are that: (l) “[i]f the
Individual Defendants some allegedly owning Valeant stock Worth tens or hundreds of millions
of dollars . . . , kn[e]w their strategy Was doomed, it is illogical that they would [have held] onto
inflated stock”; and (2) Plaintiffs should have been able to identify confidential informants or
internal documents demonstrating Defendants’ knowledge of Philidor’s deceptive tactics or
accounting errors (Defs.’ Reply Br. 11-12.) Because it is plausible that the Exchange Act
Defendants were caught before they had a chance to sell their shares the mere fact that the
Exchange Act Defendants did not sell their shares is insufficient to render Plaintiffs’ allegations
deficientl (Pls.’ Opp’n Br. 104). Similarly, the mere lack of citations to confidential informants
and internal documents does not preclude the Court from finding sufficient allegations of scienter
based on its holistic review of the Complaint.

The Court further acknowledges the Exchange Act Defendants’ reliance on the Cooper
Tire case for the proposition that the Court should require Plaintiffs to re-plead the Complaint.
834 F.3d at 491 . ln Cooper Tire, the Third Circuit stated that the “District Court enjoys substantial
discretion in managing complex disputes particularly when . . . the claims become unwieldy.” ld.
Accordingly, the Third Circuit described the complaint in Cooper Tire as presenting “an
extraordinary challenge for application of the highly particularized pleading standard demanded
by the PSLRA. . . . due to the length of the [c]omplaint . . . [and] its lack of clarity.” Id. Here,

however, the Court does not find the Complaint to be unwieldy and finds the allegations

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sufficiently clear for the Court to apply the appropriate pleading standard. In accordance with the
discretion afforded to the Court under Cooper Tire, the Court will not require Plaintiffs to re-plead.
For these reasons the Court finds that Plaintiffs have sufficiently pled scienter based on
the Court’s holistic review of the Complaint.
2. Materialitv; Actionable Statements and Omissions

A misstatement or omission is material if “there is a substantial likelihood that a reasonable
[investor] would consider it important in deciding how to [act].” ln re Donald J. Trump Casino
Sec. Litig. - T aj Mahal Litig., 7 F.3d 357, 369 (3d Cir. 1993) (alterations in original) (quoting TSC
Indus., lnc. v. Northway, lnc., 426 U.S. 438, 449 (1976)). ln other words a misstatement or
omission is material if the information “would have been viewed by the reasonable investor as
having significantly altered the total mix of information available to that investor.” Oran v.
Stajj’ord, 226 F.3d 275, 282 (3d Cir. 2000) (internal quotations and citations omitted).

Upon review of these allegations and the authorities presented by the parties the Court
finds that Plaintiffs have sufficiently pled materiality. While the Exchange Act Defendants target
certain portions of particular alleged statements and omissions the Exchange Act Defendants fail
to sufficiently address numerous alleged misstatements and omissions regarding Valeant’s
purported deceptive practices which a reasonable investor would have considered important. See
In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 250 (2d Cir. 2016) (“‘The test for whether a statement
is materially misleading under Section 10(b)’ is not whether the statement is misleading in and of
itself, but ‘whether the defendants’ representations taken together and in context, would have
misled a reasonable investor.”’ (quoting Rombach v. Chang, 355 F.3d 164, 172 n.7 (2d Cir.
2004))). Accordingly, the Court finds that the Complaint sufficiently pleads actionable statements

with regard to all of the Exchange Act Defendants

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The Court, nonetheless finds it appropriate to specifically address whether Plaintiffs have
sufficiently attributed actionable misstatements or omissions to the Director Defendants Kellen,
Rosiello, and Carro.16 First, the Court notes that the Exchange Act Defendants have failed to set
forth authority precluding the attribution of the October 19, 2015, and October 26, 2015,
presentations and releases to the Director Defendants Kellen, Rosiello, Schiller, Pearson, and
Carro.11 The parties do not dispute that Janus Capital Group, Inc. v. FirstDerivative Traders, 564
U.S. 135 (2011), is the controlling authority on this issue, and none of the parties have set forth
any more specific authority from within the Third Circuit.18 According to Janus, “the maker of a
statement [for the purposes of SEC Rule 10b-51 is the person or entity With ultimate authority over
the statement, including its content and whether and how to communicate it.” ld. at 142. “[I]n the
ordinary case, attribution within a statement or implicit from surrounding circumstances is strong
evidence that a statement was made by_and only by_the party to whom it is attnbuted.” ld. at
142-43.

I-lere, Plaintiffs allege that certain Director Defendants Pearson, Schiller, Carro, Rosiello,
and Kellen jointly distributed and presented slides that contained alleged misstatements and that
the statements themselves attributed their content to the presenters with the pronoun “we.”

(Compl.1111 206-12, 217-23.) Moreover, according to the Complaint, the October 26, 2015 release

 

16 Based on the analysis set forth above, the Court does not find it necessary to specifically address
the attributable allegations for the remaining Exchange Act Defendants

11 The Complaint attributes the October 19, 2015 presentation to Pearson, Rosiello, and Kellen,
and the October 26, 2015 presentation to Pearson, Schiller, Rosiello, Ingram, Provencio, Melas-
Kyn`azi, Stevenson, Carro, and Kellen. (Compl. 1111 206, 217.)

18 The Valeant Defendants do not discuss Janus, but rather rely generally upon cases that forbid
group pleading (Valeant Defs.’ Moving Br. 4.) On the other hand, Plaintiffs Jorn, and Schiller
rely on Janus for their respective positions (Pls’ Opp’n Br. 27-29', Jorn’s Moving Br. 9; Schiller’s
Moving Br. 15-16.)

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contained purported misstatements based on the review of the “Audit and Risk Committee and the
full Bcard of Directors,” and the October 26, 2015 presentation made a similar explicit attribution
to the “full Board.” (Ia'. 1111 216, 219.) Accordingly, the Court finds that the Complaint sufficiently
attributes purported material misstatements or omissions to all of the Exchange Act Defendants
pursuant to the standard Set forth in Janus. See In re sz`zer Inc. Sec. Lz`tig., No. 04-9866, 2012 WL
983 548, at*4 (S.D.N.Y. Mar. 22, 2012) (finding that the complaint “adequately allege[d] that the
. . . [d]efendants [were] liable for statements issued in . . . press releases, because they ‘were
involved in drafting, reviewing and/or disseminating the false and misleading financial statements
that Were issued . . . , approved or ratified these statements and, therefore, adopted them as their
own”’).
3. Loss Causation

When pleading loss causation, a plaintiff “need not satisfy the PSLRA or Rule 9(b)’s
heightened pleading requirements to survive a motion to dismiss” and “need only satisfy the
requirements Of Rule 8(a)(2).”l9 Nat’l Jum'or Baseball Leagne v. Pharmanet Dev. Grp. lnc., 720
F. Supp. 2d 517, 558 (D.N.J. 2010) (citing Dara Pharms., Inc. v. Broudo, 544 U.S. 336, 346

(2005)). Upon review of the parties’ submissions and the allegations set forth in the Complaint,

 

19 Here, the parties do not dispute that loss causation is subject to Rule S(a) of the Federal Rules
Of Civil Procedure. (See Valeant Defs.’ Moving Br. 61-62 (relying on cases that apply Rule S(a));
Valeant Defs.’ Reply Br. 24-25 (same)', Jorn’s Moving Br. ll (relying on the Valeant Defendants’
submissions).) Plaintiffs argue that the Valeant Defendants’ principal case applies Rule S(a) (Pls.’
Opp’n Br. 111 n.50.) The Valeant Defendants have not argued otherwise Additionally, this
District has consistently analyzed loss causation under Rule S(a), as opposed to a heightened
pleading standard. See Pharmanet Dev. Grp. Inc., 720 F. Supp. 2d at 558; see also Dudley v.
Haub, No. 11-5196, 2013 WL 1845519, at *18 (D.N.J. Apr. 30, 2013) (“Allegations of loss
causation are not subject to the heightened pleading requirements of Rule 9(b) and the PSLRA
. . . .”)', In re Merck & Co., Inc. Sec., Derivative, & ERISA Lir.c'g., No. 05-1151, 2011 WL 3444199,
at *29 (D.N.J. Aug. 8, 2011) (“Loss causation is adequately alleged if it meets Rule S(a)’s standard
. . . .”); fn re Intelligroup Sec. Litz`g., 527 F. Supp. 2d 262, 277 (D.N.J. 2007) (“It appears that the
heightened pleading requirements of [the] PSLRA are inapplicable to [lcss causation].”).
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the Court finds that Plaintiffs have sufficiently pled loss causation pursuant to Rule 8(a)(2) of the
Federal Rules Of` Civil Procedure.

For these reasons, the Court finds that Plaintiffs have sufficiently pled their claims under
Section 10(b) of the Exchange Act and SEC Rule 10b-5. The Exchange Act Defendants’ Motions
to Dismiss, therefore, are denied with regard to Count One.

B. Counts Two & Nine: Section 20(a) of the Exchange Act (against Valeant,

Pearson, Schiller, and Rosiello) and Section 15 of the Securities Act (against
Valeant, Pearson, and Schiller)

Valeant, Pearson, Schiller, and Rosiello (collectively, “these Defendants” for the purposes
of this section) argue that to sustain the claims under Section 20(a) of the Exchange Act and
Section 15 of the Securities Act, Plaintiffs “must prove . . . a primary violation of the securities
laws.” (Valeant Defs.’ Moving Br. 65 n.68 (quoting fn re Suprerna, 438 F.3d at 284).) These
Defendants further argue that because Plaintiffs have failed to establish primary liability under
Section 10(b) of the Exchange Act or Sections 11 or 12(a)(2) of the Securities Act, the Court must
also dismiss Counts Two and Nine. (Id. (citing Barresch v. Cook, 941 F. Supp. 2d 501, 513 (D.
Del. 2013) and CastlerockMgmt. Ltd. v. Ultralz`fe Bczrteries, lnc., 114 F. Supp. 2d 316, 325 (D.N.J.
2000)).) Similarly, Schiller argues that Counts Two and Nine “necessarily fail because they derive
from Plaintiffs’ underlying claims under Section lO(b) of the Exchange Act and Sections ll and
l2(a)(2) of the Securities Act, . . . Which are inadequately pled.” (Schiller’s Moving Br. 30.)
Schiller further adds that, for the reasons argued with regard to the lack of scienter required to
adequately plead Count One, Schiller lacks the requisite “l<nowledge” to sustain a control person
liability claim. (Id.)

Because the Court finds that Plaintiffs have adequately pled Count One, and because these

Defendants’ sole argument in requesting dismissal of Counts Two and Nine relies on the dismissal

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of Count One, the Court accordingly denies these Defendants` Motions as to both Counts Two and

Nine.
C. Counts Seven and Eight: Section 11 of the Securities Act (against Valeant, the
Individual Securities Act Defendants, PWC, and the Stock Undel‘writer

Defendants) and Section 12(a)(2) of the Securities Act (against Valeant,
Pearson, Schiller, and the Stock Underwriter Defendants)

l. Standing

Counts Seven and Eight are brought solely by Plaintiff the City of Tucson against Valeant,
the Individual Securities Act Defendants, PwC,zU and the Stock Underwriter Defendants
(collectively, “these Defendants” for the purposes of this section). These Defendants argue that
the City of Tucson failed to sufficiently plead its purported purchase of shares directly in the March
2015 Stock Of`fering.21 “Section 11 and 12(a)(2) claims are generally not subject to the heightened
pleading standards required under the PSLRA and F ederal Rule of Civil Procedure 9(b); rather,
the liberal notice pleading requirements of Rule 8 generally apply.” ja re Enzymotec Sec. Lz`n'g_,
No. 14-5556, 2015 wL 8784065, at *21 (D.N.J. Dec. 15, 2015).22

To have standing under Section 12(a)(2), a plaintiff must have purchased “directly in the
public offering.” fn re Measuremem Specr`alties, Inc. Sec. Litig., No. 02-1071, 2003 U.S. Dist.
LEXIS 27904, at *26 (D.N.J. Sept. 29, 2003); see also Bolla_v v. Legg Mason Wood Walker, Inc.,

925 F.2d 682, 689 (3d Cir. 1991) (holding that Section 12(a)(2) “should not be expanded to

 

211 vaC relies on and incorporates the Bank Offering Defendants’ arguments with regard to the
standing issue, (PwC’s Moving Br. 16.)

21 Bank Of`fering Defendants argue that standing can arise from directly purchasing in the Stock
Offering or from the fact that the City of Tucson purchased shares traceable to the Stock Offering.
(Banl< Offering Defs.’ Moving Br. 18-24.) The City of Tucson, however, argues that it is not
relying on the traceability position, but rather that it sufficiently alleges directly purchasing in the
Stock Offering. (Pls.’ Opp’n Br. 124, n.60.)

22 Although Rule 9(b)’s heightened pleading standards may apply where the liability sounds in
fraud, Plaintiffs have disclaimed that any of their Section 1 l and Section 12(a)(2) claims are based
in fraud. (Compl. 11 572, 593, 616, 642, 669, 713, 723.)

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aftermarket trading”). On the other hand, to have standing under Section l l, a plaintiff must have
either purchased directly in the stock offering or, altematively, have purchased securities in or
“traceable to an offering that was covered by the allegedly false registration statement.” In re
Consrar Inr’! Inc. Sec. Lz’tig., No. 03-5020, 2008 WL 614551, at *2 (E.D. Pa. Mar. 4, 2008)
(internal citation omitted).

Here, Plaintiffs plead that the City of Tucson “purchased Valeant stock in the March 2015
Stock Offering.” (Compl. 11 557.) These Defendants, however, argue that the City of Tucson’s
allegations “do not tend to exclude the possibility that [its] shares came from the pool of previously
issued sbares.” (Bank Of`f`ering Defs.’ Moving Br. 22 (alteration in original) (quoting fn re Centw'y
Alumz'num, 729 F.3d 1104, 1107 (9th Cir. 2013)).) According to these Defendants, the allegations
are more factually consistent with a purchase from a secondary market, than the purported direct
purchase in the March 2015 Stock Offering. (Icl. at 19~23.) The Court, however, finds persuasive
Plaintiffs’ reliance on fn re Supremo Specr'a[ties, Inc. Securities Litigation, 438 F.3d 256 (3d Cir.
2006). ln Suprema, the Third Circuit found that “plaintiffs’ assertions of purchases ‘in’ . . . the
. . . stock offerings were sufficient at the pleading stage.” Id. at 275 n.7.

Accordingly, the Court finds that the City of Tucson has sufficiently pled standing with
regard to Counts Seven and Eight, and notes that “[i]f defendants [are] eventually to prove that the
shares came from the secondary market,” the City of Tucson’s Section 11 and 12(a)(2) claims
would be subject to dismissal Id. The Court, therefore, denies these Defendants’ Motions to

Dismiss with regard to Counts Seven and Eight.23

 

23 In denying PwC’s Motion to Dismiss Count Seven, the Court also considered PwC’s arguments
under Omm'care, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 135 S. Ct. 1318
(2015), as set forth below.

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2. PwC and Omnicare (Count Seven)

PwC argues that an auditor’s statements in an audit report are inherently opinions and not
statements of fact, and therefore not actionable under Section 11 of the Securities Act. (PwC’s
Moving Br. 10-16.) Both parties recognize that if PwC is correct that audit reports constitute mere
statements of opinion, the Court’s decision would be guided by the controlling authority of
Omnicare, Inc. v. Laborers Districr Council Construction Indus£ry Pension Fund, 135 S. Ct. 1318
(2015). Under Omm`core, a statement of opinion can give rise to Section 11 liability in three
circumstances: (l) where the speaker does not subjectiver believe his or her own opinion;
(2) where the statement of opinion contains false embedded statements of facts; and (3) if a
statement “omits material facts about the issuer’s inquiry into or knowledge concerning a statement
of opinion, and if` those facts conflict with what a reasonable investor would take from the
statement itself`.” Id. at 1326*29. Here, the Court finds that Plaintiffs have sufficiently pled the
third Omm`care exception_omission_and, therefore, does not reach the applicability of the other
Ornnicare exceptions or whether an audit report inherently consists of only pure statements of
opinion.24

“An opinion statement . . . is not necessarily misleading when an issuer knows, but fails
to disclose, some fact cutting the other way.” Ia’. at 1329. This is because a “reasonable investor
does not expect that every fact known to an issuer supports its opinion statement.” Id.
Accordingly, “whether an omission makes an expression of opinion misleading always depends
on context.” Id. at 1330. I-Iere, based on the context and unique allegations set forth in the

Complaint, the Court finds that Plaintiffs have sufficiently pled a material omission under

Omm'care. Unlike SEPTA v. Orrstown Financr`al Services, [nc., No. 12-993, 2015 WL 3833849,

 

24 The parties note that the Third Circuit has yet to determine whether audit reports are “opinions”
Subject to the analysis in Omnicare. (Pls.’ Opp’n Br. 141-42; PwC’s Moving Br. 13 n.6.)
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at *34 (M.D. Pa. June 22, 2015), which PWC relies on, the Complaint “identif[ies] particular (and
material) facts going to the basis for the issuer’s opinion_facts about the inquiry the issuer did or
did not conduct or the knowledge it did or did not have_whose omission makes the opinion
statement at issue misleading.” Id. (quoting Omnicare, 135 S. Ct. at 1332). In accordance with
the liberal pleading standard under Rule 8(a) of the Federal Rules of Civil Procedure, the Court,
therefore, denies PwC’s Motion to Dismiss Count Seven.

D. Counts Three, Four, Five, and Six: Section lZ(a)(Z) of the Securities Act
` (against Valeant, Pearson, Schiller, and the Bank Offering Defendants)

The parties present an issue that has yet to be addressed by the Third Circuit: whether Rule
144A registration requires dismissal of Securities Act Section 12 claims of liability. ln support of
the proposition that Rule 144A registration nevertheless requires courtsto engage in a fact-specific
inquiry regarding the public or private nature of the offering, Plaintiffs specifically identify two
directly applicable district court cases: fn re Enron Corp. Sec., Derivorz`ve & “ERISA ” Litz`g., 310
F. Supp. 2d 819 (S.D. TeX. 2004), and AAL Hr`gh Yield Bond Fund v. Rurrenberg, No. 00-1404,
2001 WL 34372980 (N.D. Ala. Sept. 30, 2001). In response, the Bank Offering Defendants cite
six district court cases from three different circuits, including four cases from the Southern District
of New York, Where the courts dismissed Section 12(a)(2) claims in connection with Rule 144A
offerings See fn re Merrr'll Lynch Auction Rafe Sec. Lz`rr'g., No. 10-124, 2012 WL 1994707, at *5
(S,D.N.Y. June 4, 2012), aj'd Sub nom Iconix Brand Grp. v. Merrill Lynch, Pr`erce, Fenner &
Smith Inc., 505 F. App’x 14 (2d Cir. 2012); Anegaa'a Masrer and, er. v. PXRE Grp. er., 680
F. Supp. 2d 616, 621 (S.D.N.Y. 2010); fn re Refco, Inc. Sec. Lin'g., 503 F. Supp. 2d 611, 625-26
(S.D.N.Y. 2007); Am. High~Income Tr. v. Alfied.$‘ignal, 329 F. Supp. 2d 534, 543 (S.D.N.Y. 2004);
fn re Hayes Lemmerz Int’l, Inc. Equity Sec. Lirig., 271 F. Supp. 2d 1007, 1028-29 (E.D. Mich.
2003); fn re Saj%f))-Kleen Bondholders Lin`g., No. 00-1145. 2002 WL 32795741, at *3 (D.S.C.

June 14, 2002).
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Upon review of the authorities submitted by the parties, the Court finds the Bank Offering
Defendants’ interpretation persuasive “Rule 144A specifically provides that securities sold in
compliance with its provisions ‘shall be deemed not to have been offered to the public.”’ In re
Refco, Inc. Sec. Lr'tig., 503 F. Supp. 2d at 625 (quoting 17 C.F.R. § 230.144A(c)). Accordingly,
the Court finds that “exemption from registration and non-public status are necessary
consequences of compliance with the conditions of Rule 144A.” Io’. A majority of the courts to
rule on this issue, including the Southern District of New York, have adopted this interpretation of
Rule 144A and its effect on Section 12(a)(2) liability.

On the other hand, the Court notes that the two cases from 2001 and 2004 representing the
minority view, AAL Hr'gh Yi`eld Bond thd and fn re Enron Corp., relied heavily on older Second
Circuit cases for guidance, suggesting that both the Northern District ofAlabarna and the Southern
District of Texas may arrive at different conclusions today based on the more recently developed
case law Specific to Rule 144A in the Southern District of`Ncw York. See fn re Enron Corp., 310
F. Supp. 2d at 864-66; see also AAL Higk Yr'eld Bond Fund_ 2001 WL 34372980, at *6-7, 8 n.3
(stating that “[t]he decision in Sloane [Overseas Fund, er. v. Sapiens lm"l Corp., N.V.], 941
F. Supp. 1369 (S.D.N.Y. 1996) [was] instructive in regards to the factors a court may deem
relevant in characterizing an offering as public or private”). Accordingly, the Court adopts the
majority approach to Rule 144A and grants Valeant, Pearson, Schiller, and the Bank Offering
Defendants’ Motions to Dismiss With regard to Counts Three, Four, Five, and Six, without
prejudice
IV. Conclusion

For the reasons set forth above, the Exchange Act Defendants’ Motions to Dismiss are
DENIED with regard to Count One', Valeant, Pearson, Schiller, and Rosiello’s Motions to Dismiss

are DENIED with regard to Count Two; Valeant, Pearson, Schiller, and the Bank Offering

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Defendants’ Motions to Dismiss are GRANTED, without prejudice, with regard to Counts Three,
Four, Five, and Six; Valeant, the Individual Securities Act Defendants, PwC, and the Stock
Underwriter Defendants’ Motions are DENIED with regard to Count Seven; Valeant, Pearson,
Schiller, and the Stock Underwriter Defendants’ Motions are DENIED with regard to Count Eight;
Valeant, Pearson, and Schiller’s Motions Dismiss are DENIED with regard to Count Nine. An

order consistent With this Memorandum Opinion will be entered.

s/ Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DISTRJCT JUDGE

Dated: April 28, 2017

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